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                                                                                              RECEIVED
                                      UNITED STATES DISTRICT COURT                                 NGV 1 6 !Ul?
                                      FOR THE DISTRICT OF COLUMBIA
                                                                                             Clerk, U.S. District and
                                                                                               Bankruptcy Courts
          LISA M. KINCAID,                              )
           21458 Grey Slate Court                       )
           Ashburn, VA 20147,                           )
                                                        )
                 Plaintiff,                             )
                                                        )
                          v.                            )      Civ. Action No. 17-1941 (RDM)
                                                        )
                                                       )
         JEFFERSON B. SESSIONS,                        )       UNDER SEAL
          Attorney General of the United States,       )
          U.S. Department of Justice,                  )
          Washington, DC 20530,                        )
                                                       )
                                                       )
         THOMAS E. BRANDON,                            )
          Acting Director, Bureau of Alcohol,          )
          Tobacco, Firearms and Explosives,            )
          99 New York Avenue, NE                       )
          Washington, DC 20226,                        )
                                                       )
           Defendant.                                  )
         _____________ )


                       FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

                 I.)     This is an action by Plaintiff, Lisa M. Kincaid, a GS-I 8 I I Special Agent/Criminal

         Investigator (Grade 14) with the.Bureau of Alcohol, Tobacco, Firearms, and Explosives ("ATF").

·   .   ~gegihhiiig in Auglistof20T2,aii.cliiritilthe actions that gave rise to this Complaint, Ms. Kincaid

         was a Special Agent in the A TF Internal Affairs Division ("!AD"), a highly prestigious assignment

         that she accepted immediately after serving as a supervisory Branch Chief in ATF's Field

         Management Staff ("FMS"). Ms. Kincaid has served in A TF with distinction for over thirty years

        in positions of trust. She has held supervisory positions as well, among them Chief of A TF's

        Investigative Support Branch, the Resident Agent in Charge ("RAC") of ATF's Pensacola, Florida

        Field Office, and the Group Supervisor ofATF's DC Arson Task Force.
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                      2.)     Ms. Kincaid's successful career in ATF was punctuated when defendant

              discriminated against her because of her sex and retaliated against her for engaging in protected

              EEO activity, which included participating in the administrative EEO complaints process and

              conducting an internal IAD investigation that documented numerous instances of sexual

              harassment and other gross misconduct by the then-Deputy Chief and Chief of ATF's Special

              Operations Division ("SOD"), Billy L. Wright, Jr. and Charles E. Smith.

                      3.)    Ms. Kincaid's investigation documented credible evidence that Mr. Wright, among

              other matters: shoved his hand up one woman's skirt; discussed oral sex in front of women; made

              unwanted sexual advances toward women; yelled at, belittled, and berated women;



                     4.)     Ms. Kincaid's investigation ultimately expanded, and she later also documented

             credible evidence that Mr. Smith, among other matters,



                     5.)     Ms. Kincaid was assigned responsibility for the IAD investigation on July 12, 2013,

             after ATF Special Agent ("SA") SherryAnn Quindley, an EEO complainant, disclosed that Mr.

             Wright had discriminateda_gainst her andharassed her based on hersex. §he also disclosed that

···· ········ · ·· -- MrcWright sexuallyharassedand/or discriminatedagainst at least five·otherfemaleemployees·of

             SOD.    Ms. Kincaid's investigation documented evidence that corroborated Ms. Quindley's

             allegations. It also revealed that Mr. Smith failed to take action when female employees in SOD

             complained to him about Mr. Wright's sexual harassment and creation of a hostile work




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 environment, and that Mr. Smith himself contributed to the alleged hostile work environment in

 SOD.

        6.)     On August 7, 2014, after documenting the extensive misconduct of Mr. Wright and

 Mr. Smith, and despite efforts of senior ATE.managers to impede Ms. Kincaid's investigation, Ms.

Kincaid turned in a 272-page Preliminary Report of Investigation outlining the many allegations

of misconduct raised against the two senior managers. After doing so, Ms. Kincaid continued to

pursue investigations into Mr. Wright and Mr. Smith, documenting more of their misconduct,

while A TF management continued its interference. This was the first protected activity she

engaged in, and it continued through until at least January of 2016.

        7.)     Ms. Kincaid conducted her investigation with exemplary thoroughness,

professionalism, and diligence; and throughout it, kept senior ATF management apprised of her

findings. Ms. Kincaid's Preliminary Report spanned 272 pages, and included statements from

many witnesses, as well as extensive corroborating evidence of misconduct by Mr. Wright and

Mr. Smith that was prohibited by Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§2000e-16.

        8.)    On November 20, 2014, Ms. Kincaid engaged in the administrative EEO process

for the ·first time after·being passedoverforpromotion to the position ofAssistantSpecial Agent

in Charge of!AD in favor of a less qualified male candidate. 2

        9.)    On September 21, 2015, ATF's parent organization, the U.S. Department of Justice,

issued a Final Agency Decision ("FAD") in favor of SA Quindley, finding that Mr. Wright and




        Ms. Kincaid withdrew that administrative Complaint in January of 2015. It is relevant to
this proceeding to demonstrate that ATF retaliated against her and as evidence that it subsequently
discriminated and retaliated against her.
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             other SOD management officials discriminated against her on the basis of her sex and/or disability

             and subjected her to a hostile work environment.

                     10.)   Just before the FAD was issued, Senator Charles E. Grassley, the Chairman of the

             .Senate.Judiciary Committee, issued a letter to then-Attorney General Loretta Lynch and DOJ

             Inspector General Michael Horowitz, specifically identifying SA Quindley and eight women who

             had come forward with allegations of sexual harassment, bullying, sex discrimination, and witness

             intimidation engaged in by ATF. His letter posed pointed questions about the status of their

             complaints; what discipline Mr. Wright and Mr. Smith had faced; and the status of their

            employment with ATF. Five months later, Defendant sent its response to Senator Grassley, which

            failed to acknowledge the depth of misconduct by Mr. Smith and Mr. Wright, or the fact that

            neither of their careers were adversely affected despite the FAD's unequivocal determination that

            they discriminated against and harassed SA Quindley.         Defendant's response also made no

            mention that Mr. Wright had lied under oath.

                    11.)    ATF's first concrete act of discrimination and retaliation against Ms. Kincaid for

            which redress is sought in this action occurred on November 23, 2015, when it passed her over for

. _____   ... the ..rositionof the RAQ()f J\'fF'sColumbia, South Carolina Field Office. Ms. Kincaid had

    ········ ··-previously and·successfully·servedas·theRACofATF's·Pensacola,Florida·office.···Despitethis,

            A TF selected a lower-graded, far less qualified male agent who had never held a supervisory

            position and who never engaged in protected EEO activity.

                    12.)    ATF's second concrete act of discrimination and retaliation against Ms. Kincaid for

            which redress is sought in this action occurred on December 15, 2015, when it reassigned Ms.

            Kincaid out of IAD involuntarily to a materially less desirable position as a non-supervisory

            Program Manager in FMS - an organization in which Ms. Kincaid had previously served as a



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                 supervisory Branch Chief - and treated her disparately m comparison to comparable male

                 colleagues.

                         13.)      ATF's stated reason for Ms. Kincaid's reassignment was the pretext that Ms.

                 Kincaid had disclosed confidential. information about her investigation of Mr. Smith to her

                 husband, a retired ATF Special Agent in Charge. In truth, Mr. Smith's gross misconduct and the

                 !AD and OIG investigations into him were already well-known throughout the community of

                 cmTent and former ATF Special Agents, as well as !AD management.

                         14.)    By taking the foregoing actions and others, Defendant discriminated and retaliated

                 against Ms. Kincaid because she is female, for utilizing the administrative EEO complaints

                 process, for documenting the discrimination, harassment, and misconduct on the part of Mr.

                 Wright and Mr. Smith, and for reporting it to senior ATF management.

                         15.)   This case seeks redress for defendant's violations of Title VII of the Civil Rights

                 Act of 1964, as amended, 42 U.S.C. §2000e-2, and §2000e-3(a) (incorporated by reference into 42

                 U.S.C. §2000e-16(c)). By way of relief, it seeks: a.) Ms. Kincaid's restoration as a Criminal

                Investigator GS-1811 in !AD, reassignment to the supervisory position of RAC of the ATF Field

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                Office in Columbia, South Carolina, or to a comparable po_sitio_ n; b.) record couection; c.)
                                ''''"'"'"-'"····   "'····   '   '       --·····   ..        .·   .   ·.,   ·c




·· ··· ···   -- ·restoration· of leave used by Ms. Kincaidbecause of defendant's linlawfor                      actions;   d:)

                compensatory damages and expenses incuued in the pursuit of her claims; and e.) an award of

                attorney's fees and costs.

                                                                    Parties, Jurisdiction, And Venue

                        16.)    Plaintiff Lisa M. Kincaid is and at all times relevant was a GS-1811-14 Special

                Agent/Criminal Investigator with ATF. Ms. Kincaid is a female who engaged in protected EEO

                activity and resides at the address recited in the caption of this Complaint.



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               17.)    Defendant Jefferson B. Sessions is the Attorney General of the United States and

     as such is the official who heads the United States Department of Justice ("DOJ"),of which ATF

     is a part. Defendant Thomas E. Brandon is the acting Director of ATF, which is a bureau within

    . DOJ. . The miss.ion of ATF jncludes protecting communities from violent criminals and criminal

     organizations, from the illegal use and trafficking of firearms, from the illegal use and storage of

     explosives, from acts of arson and bombings, from acts of terrorism, and from the illegal diversion

     of alcohol and tobacco products. Defendants are sued in their official capacity only.

              18.)    Jurisdiction of this Court is based upon 28 U.S.C. §1332; and 42 U.S.C. §2000e-16

     (incorporating by reference 42 U.S.C. §2000e-5(c)). Venue lies here pursuant to 42 U.S.C.

     §2000e-16 (incorporating by reference 42 U.S.C. §2000-5(£)(3)) because a substantial majority of

     the operative facts of defendant's discrimination and retaliation took place in Washington, D.C.

                                         STATEMENT OF FACTS

                                                Background

              19.)    Ms. Kincaid is a female who, until her involuntary reassignment, was a Special

     Agent/Criminal Investigator GS-1811-14 in the ATF Internal Affairs Division ("IAD"), a

     component of the bureau's Office of Professional Responsibility and Security Operations

·· ---("OPRSO"):      In··that position; Ms:Kincaid·was responsible for conducting highly··complex,

     sensitive, and controversial investigations of ATF employees. The investigation at issue in this

     case was particularly sensitive because it involved senior ATF managers, including the former

     Deputy Chief and Chief of ATF's Special Operations Division ("SOD"), Billy Wright and Charles

     Smith.

              20.)    Ms. Kincaid has been an ATF Special Agent since 1987. Among her assigmnents,

    Ms. Kincaid served in IAD twice for a total of eight years; as the Chief of ATF's Investigative



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                     Support Branch for three years; as the supervisory Resident Agent in Charge ("RAC") of ATF's

                     Field Office in Pensacola, Florida, for three years; as a Group Supervisor in ATF's D.C. Arson

                     Task Force for a year and a half; and in other assignments as an ATF Special Agent and Program

                     Manager.

                               21.)       Ms. Kincaid's career with ATF has been highlighted with many outstanding

                     ratings, performance awards, and promotions, and her conduct has always been beyond reproach.

                               22.)       At all times relevant, Ms. Kincaid's first-line supervisors in !AD were Assistant

                    Special Agents in Charge ("ASAC") Daniel Machonis and, beginning in the spring of2015, Arthur

                    Peralta. Her second-line supervisor was Special Agent in Charge ("SAC") Thomas L. Chittum III

                    until November of 2014, when he was replaced by Thomas Murray.

                               23.)       Other relevant management officials in Ms. Kincaid's chain-of-command who

                    participated in discriminating and retaliating against her include, but are not limited to: OPRSO

                    Deputy Assistant Director Daryl McCrary and his predecessor, Joel Roessner; OPRSO Assistant

                    Director Melvin King and his predecessor, Michael Gleysteen; Special Agent in Charge of ATF's

                    Charlotte, North Carolina Field Division, Christopher J. Hyman; A TF Associate Deputy Director

                   .. Ronald Turk; and ATF Deputy Director Thomas Brandon. Mr. Brandon currently serves as A TF's

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                               24.)       Mr. McCrary, Mr. Gleysteen, Mr. Roessner, Mr. King, Mr. Turk, and Mr. Brandon

                    actively participated in the discriminatory and retaliatory actions that are the subjects of this

                    Complaint from their assigned duty stations in ATF Headquarters in Washington, D.C.

                                                                · Tlie Role oflAD

                               25.)      The role of !AD is to impartially investigate allegations of employee misconduct

                    and, when warranted, report significant findings to DOJ's Office of Inspector General ("OIG").



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   Such misconduct could include, but is not limited to, employee corruption such as bribery or

   embezzlement, civil rights abuses, violence, ethics violations, and prohibited personnel practices.

          26.)    When !AD receives a complaint of potential employee misconduct, if it is

   detei;mined that a preliminary investigation is warranted, the preliminary investigation is assigned

  to a Special Agent to determine whether the alleged misconduct warrants further inquiry.

          27.)    At the conclusion of the preliminary investigation, the investigating agent prepares

  a preliminary report, which is elevated to the SAC and ASAC of !AD to determine whether its

  findings warrant the opening of a full investigation. If so, the report is forwarded to the Assistant

  Director of OPRSO for approval and, if approved, the DOJ Office of Inspector General ("OIG")

  has a "right of first refusal" to investigate the allegations of misconduct at issue. If the OIG decides

  not to take a case, it is converted to a full internal investigation within !AD. Barring unusual

  circumstances, it is standard practice for the !AD agent who conducted the preliminary

  investigation to remain as the case agent if and when it is converted to an internal investigation.

          28.)    Upon completion of the OIG or internal !AD investigation, a Report of

  Investigation ("ROI") is prepared and forwarded to ATF's Professional Review Board ("PRB") .

. .. The PRB then reviews the facts of the case, determines if misconduct has occurred, and, if so,

· proposes a·penaltybased·on ATF'stable of penalties; up·to and including removal.

        SherryAnn Quindley's Allegations of Sexual Harassment and Sex Discrimination

          29.)   In the spring of 2013, SheffyAnn Quindley, a Special Agent in ATF's Special

  Operations Division ("SOD"), filed an informal EEO complaint alleging that former SOD Deputy

  Chief Billy Wright had discriminated against her, harassed her, and subjected her to a hostile work

  environment.




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         30.)    On June 20, 2013, during the administrative EEO complaints process, SA Quindley

 disclosed that Mr. Wright also discriminated against and/or sexually harassed at least five other

 women, and rendered their work environment hostile.

         31.)    SA Quindley .had on numerous occasions brought Mr. Wright's discrimination and

 harassment to the attention of Mr. Smith. Mr. Smith was dismissive of Ms. Quindley's allegations

 and failed to take effective remedial action.

                               Plaintiff's Investigation Uncovers
                Additional Misconduct on the Part of Mr. Wright and Mr. Smith

        32.)     On July 12, 2013, Ms. Kincaid was assigned and opened a Preliminary !AD

Investigation into SA Quindley's allegations about Mr. Wright.

        33.)    Between August and October of 2013, Ms. Kincaid interviewed 30 witnesses and

reviewed the email accounts of numerous management officials, including those of Mr. Wright

and Mr. Smith, in investigating SA Quindley's allegations.

        34.)




        35.)    In addition to corroborating SA Quindley's allegations, Ms. Kincaid's investigation

uncovered and corroborated other acts of serious misconduct and violations of Title VII by Mr.

Wright, including:

                a. Shoving his hand up the skirt of a female ATF attorney while on official ATF

                     travel in Chicago, Illinois;


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                                                     b. Discussing oral sex in front of female ATF employees

                                                                                                                                ;

                                                     c.



                                                                                                                       ;

                                                    d.

                                                                               ;

                                                    e. Yelling at, berating, and bullying female subordinates; taking away their

                                                          responsibilities; and subjecting female employees to greater scrutiny than his

                                                          male subordinates;

                                                    f.    Reta.liating against female employees, including referring the woman he

                                                          inappropriately touched for investigation; lowering the performance appraisals

                                                          of women who filed complaints against him; and proposing SA Quindley' s

                                                          suspension after she filed an EEO complaint;

                                                   g.



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                                   36.)

                                                                                                                                    :

                                                   a.                                                    ;

                                                  b.




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                c.



                                                   ;

                d. Failing to take any effective remedial action after receiving credible allegations

                      of Mr. Wright's repeated and serious violations of Title VIL

                              Plaintiff's Preliminary Report And
                     ATF Management's Interference With A Full Investigation

        37.)    Ms. Kincaid kept ATF management contemporaneously apprised of her findings as

she worked through her Preliminary Investigation. She completed initial witness interviews and

assembly of evidence in September of 2013 and briefed SAC Chittum and ASAC Machonis on

her findings. At SAC Chittum's request, she provided a written summary so that he could in turn

brief Mr. Gleysteen.

        38.)   From that point forward, senior ATF management, including Mr. Gleysteen, Mr.

Roessner, and SAC Chittum, actively interfered with Ms. Kincaid's ability to complete the

Preliminary Investigation in a timely manner, and intentionally delayed converting it to a full !AD

investigation, thus preventing it from being referred to OIG.
                                                                  --   ---

       39.)    In October of 2013, SAC Chittum instructed Ms. Kincaid to begin a new

investigation of a different ATF employee and make it her top priority. SAC Chittum was well

aware that Ms. Kincaid already had a full investigative docket and that she could not

contemporaneously move forward with the Wright investigation. As a result, she was forced to

set aside the Wright investigation for five months.

       40.)    After Ms. Kincaid resumed the Wright investigation in the spring of 2014, SAC

Chittum actively disparaged SA Quindley's allegations and was dismissive of Mr. Wright's

violations of Title VIL        Nonetheless, Ms. Kincaid continued working diligently on the


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             investigation over the coming months as the allegations of misconduct against Mr. Wright and Mr.

             Smith continued to mount.

                     41.)    On August 7, 2014, Ms. Kincaid completed the first phase of the Wright

   ...... -, ... in\!estigation by.submitting a 272-page Preliminary Report of her findings to ASAC Machonis and

             SAC Chittum.

                     42.)    This report encompassed and documented SA Quindley's original allegations

             against Mr. Wright, as well as the additional instances of sex discrimination, sexual harassment,

             and other allegations of wrongdoing against him that Ms. Kincaid uncovered during the course of

             her investigation. It also brought to light the allegations of wrongdoing against Mr. Smith and

             other management officials and the failure to remedy them.

                     43.)    After reviewing her preliminary report, ASAC Machonis informed Ms. Kincaid

             that he believed it was extremely thorough and that she had documented numerous instances from

             multiple sources that warranted further investigation. ASAC Machonis returned the preliminary

             report to Ms. Kincaid for some minor corrections that she promptly made, and then, as was

             standard practice in !AD, ASAC Machoins provided a copy to SAC Chittum. ASAC Machonis

           _alsoelectro11icaUy fonvardec!itto Mr- Roessner and Mr. Gleysteen with the recommendation that

'''''' '' ,.... ·· --irptoceedtothertextlevel artdbe opened as a full investigation. Anhisjurttttire,ifMr. Gleysteeh

            had approved the case to be opened, DOJ OIG would have been provided a copy of the preliminary

            report and would have had the right of first refusal to conduct the full investigation.

                    44.)    In July of 2013, when the preliminary investigation was opened and assigned to

            Ms. Kincaid, Mr. Gleysteen had decided to recuse himself due to prior negative history he had

            with SA Quindley. Despite this, after receiving Ms. Kincaid's ROI, Mr. Gleysteen reviewed it

            and refused to convert Ms. Kincaid's preliminary investigation to a full investigation.



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                 45.)    SAC Chittum likewise refused to take steps to open a full investigation, falsely

          claiming that Ms. Quindley's allegations did not warrant one because they were already being

          investigated in the context of her EEO complaint.

                 46.)    By failing. to.follow ASAC Machonis' recommendation, SAC Chittum and Mr.

          Gleysteen attempted to conceal Mr. Smith and Mr. Wright's pervasive misconduct and violations

          of Ti tie VII from the OIG. They also attempted to prevent the allegations from being referred to

       ATF's Professional Review Board, which would have determined what disciplinary action, if any,

       to take against them, up to and including removal.

                 47.)    As will be discussed in more detail below, in the months that followed Ms.

       Kincaid's submission of the Preliminary Report, OPRSO Management, including SAC Chittum,

       Mr. Roessner, and Mr. Gleysteen, intentionally continued to prevent the serious allegations of Title

       VII violations and other misconduct against Mr. Wright and Mr. Smith from coming to light.

                  Plaintiff's Non-Selection for the IAD ASAC Position and Informal EEO Complaint

                 48.)   On August 28, 2014, three weeks after Ms. Kincaid turned in the Wright

       Preliminary Report for review by !AD management, the vacancy of a second GS-15 ASAC

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                49:)    Ms: Kincaid timely applied for the position and was notified that she had been

       placed on the "Best Qualified" list and referred for an interview.

                 50.)   Ms. Kincaid was interviewed for the !AD ASAC position on September 22, 2014

       by a panel consisting of !AD SAC Chittum, two managers from OPRSO, and a manager from the

       Public and Govermnent Affairs unit.




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              Mr. Machonis remained as the other ASAC in !AD after this position was am1ounced and
      a selection was made.

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        51.)    Later that same afternoon, SAC Chittum advised Ms. Kincaid that she was not

selected for the position. A male Special Agent, Arthur Peralta, was selected instead.

        52.)    Ms. Kincaid was considerably more qualified for the ASAC position than Mr.

Peralta. She had better and.greater experience, and, as confirmed by two mew.hers of the interview

panel, her written submissions and interview were both much stronger than his.

        53.)    On November 20, 2014, Ms. Kincaid initiated the informal administrative EEO

complaints process over being denied promotion to the !AD ASAC position on the grounds that

she had been discriminated against because of her sex and retaliated against for her protected EEO

activities in conducting the investigation into Mr. Wright and Mr. Smith. She named her husband

as her representative, rather than name an attorney, as was appropriate and permissible in the EEO

process.

        54.)    In January of 2015, Ms. Kincaid decided not to pursue the formal EEO complaints

process out of fear that she would be subjected to retaliation.

                Plaintiff's Continued Involvement in Investigating Wright and Smith
                               And Defendant's Continued Interference

        55.)    On October 5, 2014, after OPRSO management failed to take any action on Ms.

Kincaid's Preliminary Report for nearly two months, SAC Chittum instructed Ms. Kincaid to break

out each of the additional allegations of wrongdoing that she uncovered against Mr. Wright, Mr.

Smith, and other management officials into four separate incident reports so that they could be

investigated separately.

       56.)     BreakJng up Ms. Kincaid's Preliminary Investigation prevented the allegations

against Mr. Smith and Mr. Wright from being converted to a full !AD investigation or referred to

OIG collectively. As such, it downplayed the pervasiveness of the allegations against them by

having each allegation of wrongdoing looked into in isolation rather than as an integrated whole.


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            S 7.)     Over the course of the next several months, Ms. Kincaid prepared and submitted

   four separate incident reports for the "breakout investigations" of the n9n-Title VII allegations

   against Mr. Wright and Mr. Smith that were uncovered during the Wright preliminary

_ . .investigation.



                                            .4

            58.)



                                       .

            59.)      SAC Chittum was reassigned out ofIAD and replaced as SAC by Thomas Murray

   in November of 2014. In March of 2015, ASAC Machonis retired and ASAC Peralta took over

   his involvement the Wright matter moving forward. Unlike ASAC Machonis, ASAC Peralta was

   not receptive to its allegations.

            60.)      Like SAC Chittum, neither SAC Murray nor ASAC Peralta showed interest in

   remedying the Title VII violations documented by Ms. Kincaid's Preliminary Report or seeing

   them referred to OIG all at once.

            6L)       OnMayl5; 2015,ASAC Peraltafinallyconverted the original Wright investigation

   into a full internal investigation, and promptly reassigned it from Ms. Kincaid to a male agent.

   The reassignment took place nearly two years after the preliminary investigation was opened,

   roughly ten months after Ms. Kincaid first submitted the preliminary report, and only after Mr.

   Gleysteen, Mr. Roessner, and SAC Chittum were no longer assigned to OPRSO. Defendant later




   4     The fourth "break-out" investigation concerned allegations unrelated to Title VII against
   management officials other than Mr. Wright and Mr. Smith.
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attempted to justify reassigning the Wright investigation away from Ms. Kincaid by claiming that

it lacked objectivity and was not thorough. In reality, Ms. Kincaid's performance was rated

"Outstanding" during the appraisal period covering her work on the preliminary investigation, and

.i.he was praised for her professionalism in handling it.

                                    Plaintiff's Continued Involvement In
                              Investigating Additional Sex-Related Allegations

        62.)       On December 23, 2014, Ms. Kincaid was assigned the full internal !AD

investigation into the allegation that Mr. Wright

         , which was one of the allegations that had been broken out from her original

comprehensive preliminary investigation into all of Mr. Wright's misconduct.

        63.)       In addition, on January 29, 2015, Ms. Kincaid was assigned to conduct an

investigation into the allegation regarding the

               .

       64.)        On May I, 2015, Ms. Kincaid interviewed Mr. Smith regarding these allegations.

Mr. Smith admitted to making the



       65.)        From July through Septe1nber of 2015, Ms. Kincaid conducted more tha11 thirty

interviews regarding Mr. Wright's



       Senator Charles Grassley's Letter to Attorney General Loretta Lynch About
       Mr. Smith and Mr. Wright and ATF's Inadequate Investigation and Response

       66.)        On September 14, 2015, Senator Charles Grassley, Chairman of the Senate

Judiciary Committee, transmitted a letter to former Attorney General Loretta Lynch and DOJ's

Inspector General Michael Horowitz in order to ascertain the status of the investigation into Mr.



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            Wright. Sen. Grassley published the letter on his official Senate website and its contents were

            circulated online. Among the allegations that Sen. Grassley inquired into were:

                    •     Mr. Wright's harassment and bullying of SA Quindley;

                   •      Mr. Wright's threatto "break" SA Quindley;

                   •      Mr. Wright's use of SA Quindley's breast cancer diagnosis as an excuse to reassign her

                          duties to male agents;

                   •      Mr. Smith's threat to have SA Quindley investigated by the Office of Professional

                          Responsibility after she brought Mr. Wright's discrimination and harassment to his

                          attention;

                   •      ATF's failure to take corrective action when presented with credible allegations of sex

                         discrimination and harassment.

                   67.)      Senator Grassley also requested that Attorney General Lynch and Inspector General

           Horowitz provide inforn1ation about whether Mr. Smith and Mr. Wright had been disciplined, as

           well as information about the role of the ATF counsel's office played in potentially delaying and

           thwarting investigations of discrimination, harassment, and whistleblower retaliation.

              ---- -6lL) ...Qn.£>ei:iteml:ier-'.cl, 2015, the O,mplaint&-AdjudiGation Division of the Department

--- ------ ---- ofJustfoe issued the Final Agency Decision ("FAD") on SA Quindley's EEO complaint, which

           found in SA Quindley's favor. It forced A TF to settle Ms. Quindley's complaint on terms that

           were unfavorable to ATF, including payment from program funds under the No-Fear Act of 2002,

           Public Law 107-174. It also required Mr. Smith and Mr. Wright to participate in EEO training,

           and required the FAD to be posted publicly in SOD.

                  69.)       Five months later, on February 12, 2016, Assistant Attorney General Peter J.

           Kadzik submitted a letter in response to Senator Grassley's inquiry. That response failed to give



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    complete and accurate answers to many of Senator Grassley's pointed questions. For example, it

    incon-ectly claimed that !AD does not conduct parallel investigations into allegations of

    wrongdoing when an EEO complaint has been filed. It also misleadingly claimed that the female

    employee who alleged that Mr. Wright shoved his hand up her skirt "dici not file a direct sexual

    harassment claim" when in reality, that employee disclosed that information directly to Ms.

    Kincaid. Defendant's response also failed to state that while formal disciplinary proceedings were

    pending, Mr. Wright and Mr. Smith continued to serve in prestigious positions within ATF, and

    were even promoted in title, if not in grade, following the allegations lodged by SA Quindley and

   others.




                             Plaintiff's Non-Selection for South Carolina RAC Position

             70.)   On November 3, 2015, ATF announced the supervisory position of Resident Agent

   in Charge ("RAC") in its Field Office in Columbia, South Carolina.

             71.)   Ms. Kincaid had previously served as the RAC of ATF's Field Office in Pensacola,

_ .. Florida, fro111A,U£l;!St()[2Q0.4!0.Q~t()ber of 2007.                            .. ___________ _

             72.)   OnNovember 4, 2015; Ms. Kincaid advised SAC Mun-aythatshe was interested

   in applying for the Columbia RAC position. He responded that he would talk to Mr. King and Mr.

   McCrary about contacting Mr. Gleysteen to support her selection for the position.

             73.)   Because Ms. Kincaid was already a GS-14 and had previous supervisory

   experience, she could nave been laterally reassigned into this position without an interview or

   competition.

             74.)   On November 9, 2015, Ms. Kincaid applied for the Columbia RAC position.



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         75.)   On November 19, 2015, Ms. Kincaid received an email advising her that she was

 being referred to the selecting official for the position. The selecting official was Christopher J.

 Hyman, the SAC who oversaw the Columbia, South Carolina office, and a long time professional

 associate ofMr. Smith. By that time, it was well-known that Mr. Smith was under investigation

 and that Ms. Kincaid had been deeply involved in investigating him.

        76.)    After learning that Ms. Kincaid had applied for the RAC position, SAC Hyman

decided to make a selection from a roster of GS-13 candidates, thereby excluding Ms. Kincaid

from consideration.

        77.)    On November 23, 2015, Ms. Kincaid received notification that she was not selected

for the RAC position.

        78.)    Instead, SAC Hyman selected Edwin L. Eubanks, III, a GS-13 non-supervisory

male agent.

        79.)    Ms. Kincaid was far more qualified for the RAC position than Mr. Eubanks.

Among her other qualifications, Ms. Kincaid had been a highly successful RAC for over three

years and was already a Grade 14. Mr. Eubanks, by contrast, had never been a supervisor and had

_never ha1 a permanent assignment to one of ATF's121:~stigigt1soffjces}i~e IAD.

                              Plaintifrs InvolnntaryReassignment

        80.)




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                                            "5

        81.)




        82.)    Although the report did not identify Mr. Smith by name, it was common knowledge

at ATF that he was the SAC under investigation. Mr. Smith himself had complained openly about

being under this particular investigation. He also bragged that he had been previously the subject

of over twenty IAD investigations and that he had eluded discipline.

        83.)   Ms. Kincaid's husband, Donald Kincaid, is a former ATF SAC.                Since his

retirement from ATF, Mr. Kincaid, like many former agents and outsiders interested in ATF's

activities, circulates news about ATF electronically and publishes news about ATF online. Mr.

Kincaid's emails are circulated directly to over 800 retired and current ATF employees. When he

received an article concerning the                       into Mr. Smith from another retiree, Mr.

Kincaid circulated the article on an email list-serve that he runs. Neither his email nor the article

identified Mr. Smith by name._

        84.)   On                       ; after circulating the email, Mr:Kincaid was contacted by

two individuals who already knew of the                                    and who advised him that

Mr. Smith was its subject. Neither of these individuals was Ms. Kincaid. After inquiry by several

present and former ATF employees about the identity of the SAC who was the subject of the

article, Mr. Kincaid confirmed ·on his email list that it was Mr. Smith.




5      Mr. Smith had since been promoted to Special Agent in Charge of ATF's Washington Field
Division.
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                     85.)     The fact that Mr. Smith was the individual who was the subject

                                        was well-known. Moreover, the report identified the individual under

             investigation as a current SAC who had recently been promoted. which provided further indication

       . . . . that.Mr. Smith. was the subject of it.

                     86.)    Mr. Kincaid had also gained knowledge about Ms. Kincaid's investigation into Mr.

            Smith as a result of having served as her representative in Ms. Kincaid's original administrative

            EEO complaint, which she commenced in November of 2014.

                     87.)    The following week, at the direction of Mr. McCrary, Ms. Kincaid met with !AD

            SAC Murray and new !AD ASAC Francisco Arredondo. Neither Mr. Murray nor Mr. Arredondo

            asked Ms. Kincaid if she had been the source of her husband's knowledge that Mr. Smith was the

            SAC identified by          as having engaged in misconduct or whether Ms. Kincaid had known in

            advance that her husband would identify Mr. Smith on his email list.

                    88.)     Rather, the two inquired whether Ms. Kincaid had discussed the Smith

                            with her husband.

                    89.)     Ms. Kincaid responded candidly that she had discussed the fact that Mr. Smith was

·-----"one oftheindividuals whoshe wasinvestigatinf\ v,,ith her~uslJand. She also informed them that

            she had· discussed-this information in the context of sharing her account of the· discrimination and

           retaliation she had faced since first being assigned the preliminary investigation into Mr. Wright's

           violations of Title VIL

                    90.)     Mr. Arredondo stated during the meeting that it was common knowledge that Mr.

           Smith was the subject of the                     .

                    91 .)    Ms. Kincaid was directed to attend a meeting on Friday, December 4, 2015, with

           Mr. McCrary and Mr. MrnTay at ATF Headquarters in Washington, D.C. There, Mr. McCrary



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 advised Ms. Kincaid that she was being reassigned involuntarily out of!AD because of the "optics"

 created by the                                                into Mr. Smith and her husband's

 identification of Mr. Smith by name. As stated above in paragraphs 85 through 90, the fact that

 Mr. Smith was the subject of the                              was an open secret.

         92.)   Mr. McCrary then advised Ms. Kincaid that the supervisory RAC position in the

 A TF Field Office in Columbia, South Carolina, was not yet filled and that he would support her

 reassignment to it.

        93.)    Believing the offer to reassign her to the Columbia RAC position to be a sham - as

 she knew that a selection had been made - Ms. Kincaid advised Mr. McCrary that she would be

 initiating the EEO complaints process.

        94.)    At the direction of Mr. McCrary, on Tuesday December 8, 2015, SAC Mun-ay sent

 Ms. Kincaid a list of GS-14 vacancies and asked her to advise him which ones were of interest to

 her. The RAC position in Columbia, South Carolina, was one of the positions on the list.

        95.)    The following day, Ms. Kincaid advised SAC Mun-ay that if she had to leave !AD,

 she wanted to be reassigned to the RAC position in South Carolina.

        96) . J\IOE£t'Lel!?~.§1 QQJ)t:Sfill£.ft!5,2Q 15, SAC: Murra)'_ advised Ms, I<.Jrrs~sL!h!!LMr.

· McCrarydirected that she would be involuntarily transfen-ed to the Policy Development and

Evaluation Branch ("PD&E"), Field Management Staff ("FMS") in ATF Headquarters as a non-

supervisory Program Manager.

        97.)    Ms. Kincaid had served as the Chief of the FMS Investigative Support Branch from

June of 2009 to Augusf of 2012, and in that position supervised Program Managers. She also

initiated and oversaw high profile programs, such as the Joint Law Enforcement Operations

Program ("JLEO") and the Monitored Case Program. Ms. Kincaid left that position to join !AD



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                    in August of 2012 because of the complexity and sensitivity of !AD investigations and the

                   opportunity for career advancement, among other reasons.

                                    Plaintiff's Disparate Treatment In Comparison To Wright And Smith

                           98.)    During Ms. Kincau;l's Preliminary Investigation, the Title VII allegations against

                   Mr. Wright and Mr. Smith were brought directly to the attention of then-Acting ATF Director

                   Brandon and Assistant Director of Field Operations Turk. Mr. Brandon and Mr. Turk failed to

                   take any remedial action.

                           99.)    Mr. Wright was promoted to SAC of ATF's Kansas City Field Division while he

                   was a subject of Ms. Kincaid's Preliminary Investigation.          After the FAD came out in SA

                   Quindley's favor, Mr. Wright was afforded a highly advantageous transfer as RAC of the ATF

                   Caribbean Field Office in Puerto Rico. Mr. Wright received that reassignment at his request when

                   his wife, an agent with the Federal Bureau of Investigation, was reassigned there. Mr. Wright's

                   request for transfer was approved despite the fact that he was under investigation at the time, a

                   violation of ATF policies.

                           100.) In January of 2014, while under Preliminary Investigation, Mr. Smith was

·~-----~~-JJIQ_111_()teclJQ_1i1t,JJositign_9f$AC0fATF's. \Yflshi_ngto_11J'i~jclJ;;>jyj§,j9JL!!ll2f~illQ~L9L2Q.1_5,..tvir,

 · · · · ···   -   Mr. Smith was promoted again to be the Executive Assistant to the Deputy Director of ATF and

                   remained in that position until he retired in March of 2017.

                           101.) At no time were the careers of Mr. Smith or Mr. Wright affected adversely as a

                   result of the ATF investigations into their violations of Title VII.

                           102.) Ms. Kincaid, in comparison, was reassigned involuntarily out of her position as a

                   Special Agent in ATF !AD to the far less desirable position at the staff level in FMS on the




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 pretextual basis that she engaged in misconduct by disclosing information about an investigation

to her husband.

                                      Exhaustion of Administrative Remedies

        103.) No later than Decembei;. 4, 20.15, Plaintiff initiated the administrative EEO

complaints process. On January 19, 2016, Plaintiff timely filed a fo1mal administrative complaint

alleging defendant discriminated against her based on her sex and age and retaliated against her.

The Report of Investigation into Plaintiffs administrative complaint was submitted to DOJ on or

about October 25, 2016, and subsequently issued to Plaintiff. More than 180 days have elapsed

since Plaintiff filed her formal administrative complaint without the issuance of a Final Agency

Decision.   With the foregoing actions and all others required of her by law, Plaintiff timely

exhausted the administrative remedies available to her to challenge the adverse actions and

materially adverse actions that comprise the subject matter of this Complaint.

                                           COUNT!
          (Retaliation - Non-Selection for Columbia, South Carolina RAC Position)

        104.)   Plaintiff repeats the allegations contained in paragraphs I through 103 above as

though fully set forth here.
                      :a::_~- -c- -::_~-.:· ·-


        105.)   Plaintiff engaged in protected EEO activity beginning in July of 2013 by

conducting an investigation into and confirming allegations that the then-Deputy Chief of Special

Operations Division ("SOD"), Billy Wright, and then-Chief of SOD Charles Smitl1, had

discriminated against female ATF employees because of their sex, had sexually harassed female

ATF employees because of their sex, and had rendered the work environment of female ATF

employees hostile because of their sex. She further engaged in protected EEO activity by reporting

the findings, conclusions, and progress of her Preliminary Investigation and breakout




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                             investigations into Mr. Wright and Mr. Smith to Defendant on a continued basis until she reported

                             to FMS in January of 2016.

                                           106.) Plaintiff engaged in protected EEO activity beginning on November 20, 2014, and

                             continuing through January 15, 2015, when she utilized the informal administrative EEO

                             complaints process over being denied a promotion to the position of Assistant Special Agent in

                             Charge of IAD on the grounds that she had been discriminated against because of her sex and

                             retaliated against for her protected EEO activities in investigating Mr. Wright and Mr. Smith.

                                           I 07 .)   On November 9, 2015, ATF announced a vacancy for a GS-14 position as Resident

                            Agent in Charge in Columbia, South Carolina.

                                           I 08.) Plaintiff timely applied for the Columbia RAC position before the vacancy

                            announcement closed on November 18, 2015.

                                       I 09.) On November 19, 2015, Plaintiff received an email advising her that she was being

                            referred to the selecting official for the position.

                                       110.) On November 23, 2015, defendant passed over Plaintiff for the Columbia RAC

                            position, and instead selected Edwin L. Eubanks, III, a male with no known prior protected EEO

- --------- __   ,-   .   __ activity.
                             .   .  ....




                                       111.} Plaintiff was considerably more qualified for the Columbia RAC positionthan the

                            selectee. She had previously served as RAC of ATF's Pensacola, Florida office for three years.

                            She had additional supervisory experience as the Chief of ATF's Investigative Support Branch,

                            where she was rated at the Outstanding level for all four years of that assignment, and as a Group

                            Supervisor in ATF's D.C. Arson Task Force for a year and a half'

                                       112.) Defendant knew of Plaintiffs protected EEO activity and took a materially adverse

                            action against Plaintiff that would dissuade a reasonable worker from making or supporting a



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charge of discrimination in failing to select her for the position of RAC of South Carolina.

Defendant did so in order to retaliate against Plaintiff for her protected EEO activity.

          113.) Defendant violated Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

§2000e-3 (incorporated into 42 U.S.C. §2000es 16), in talcing the foregoing materially adverse

action.

          114.) Defendant's violation of Plaintiffs civil rights caused her to suffer emotional pain,

embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression, career loss, loss

of professional reputation and career opportunities, and loss of enjoyment of life.

                                           COUNT II
               (Retaliation - Involuntary Reassignment To Staff Position in FMS)

          115.) Plaintiff repeats the allegations in paragraphs 1 through 114 above as though fully

set fo1ih here.

          116.) Plaintiff engaged in protected EEO activity beginning in July of 2013 by

conducting an investigation into and confirming allegations that the then-Deputy Chief of Special

Operations Division ("SOD"), Billy Wright, and then-Chief of SOD Charles Smith, had

discriminated against female ATF employees because of their sex, had sexually harassed female
                                          - -- -- -   - ---   - --               -   - - --------------

A TF employees because of their sex, and had rendered the work environment of female ATF

employees hostile because of their sex. She further engaged in protected EEO activity by reporting

the findings, conclusions, and progress of her Preliminary Investigation and brealcoul

investigations into Mr. Wright and Mr. Smith to defendant on a continued basis until she reported

to FMS in January of 2016.

          117.) Plaintiff engaged in protected EEO activity beginning on November 20, 2014, and

continuing through January I 5, 2015, when she utilized the informal administrative EEO

complaints process over being denied a promotion to the position of Assistant Special Agent in


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   Charge ("ASAC") of the ATF Internal Affairs Division ("!AD") on the ground that she had been

   discriminated against because of her sex and retaliated against for her protected EEO activities in

   conducting the investigation into Mr. Wright and Mr. Smith.

            118.) Plaintiff engaged in protected EEO activity on December 4, 2015 when she

   informed ATF management that she would be utilizing the EEO process after she was advised that

   she was being involuntarily reassigned out of!AD.

            119.) On December 15, 2015, defendant involuntarily reassigned Plaintiff to the position

   of Program Manager for FMS.

            120.) Plaintiff had served as the FMS Branch Chief of the Investigative Support Branch

  from June of2009 to August of 2012, and headed the entire Branch. In that position, she initiated

  and oversaw high profile programs, such as the Joint Law Enforcement Operations Program and

  the Monitored Case Program, and supervised Program Managers.

            121.) In reassigning Plaintiff to a far less desirable position with significantly diminished

  responsibilities and significantly fewer future career opportunities, Defendant took a materially

  adverse action against Plaintiff that would dissuade a reasonable worker from making or

. _supp52rting.11 charge of discrimination, D~fend.ant _did so in o_rder to retaliate against Plaintiff for

  her protected EEO activity.

            122.) Defendant violated Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.

  §2000e-3 (incorporated into 42 U.S.C. §2000e-16), in taking the foregoing materially adverse

  action.

            123.) Defendant's violation of Plaintiffs civil rights caused her to suffer emotional pain,

  embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression, career loss, loss

  of professional reputation and career opportunities, and loss of enjoyment of life.



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                                           COUNT III
     (Sex Discrimination -Non-Selection for Columbia, South Carolina ASAC Position)

         124.) Plaintiff repeats the allegations in paragraphs I through 123 above as though fully

set forth here.

        125.) Plaintiff is a female.

        126.) On November 9, 2015, ATF announced a vacancy for a GS-14 position as Resident

Agent in Charge of Columbia, South Carolina.

        127.) Plaintiff timely applied for the Columbia RAC position before the vacancy

announcement closed on November 18, 2015.

        128.) On November 19, 2015, Plaintiff received an email advising her that she was being

refened to the selecting official for the position.

        129.) On November 23, 2015, defendant passed over Plaintiff for the Columbia RAC

position, and instead selected Edwin L. Eubanks, III.

        130.) Plaintiff was considerably more qualified for the Columbia RAC position than the

selectee. She had previously served as RAC of ATF's Pensacola, Florida office for three years.

She had additional supervisory experience as the Chief of ATF's Investigative Support Branch,

where she was rated at the Outstanding level for all four years of that assignment, and asa G;oi.ip

Supervisor in ATF's D.C. Arson Task Force for a year and a half.

        131.) In failing to select Plaintiff, Defendant took an adverse employment action against

Plaintiff because of her sex.

        132.) Defendant violated Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-

16, in taking the foregoing adverse employment action.




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                     133.) Defendant's violation of Plaintiff's civil rights caused her to suffer emotional pain,

             embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression, career loss, loss

             of professional reputation and career opportunities, and loss of enjoyment of life.

                                                     COUNTIV
                      (Sex Discrimination - Involuntary Reassignment To Staff Position in FMS)

                     134.) Plaintiff repeats the allegations in paragraphs 1 through 133 above as though fully

             set forth here.

                     13 5.)    Plaintiff is a female.

                     136.)     On December 15, 2015, Defendant involuntarily reassigned Plaintiff to the position

             of Program Manager for the Policy and Evaluation Branch, Field Management Staff.

                     137.) Plaintiff had served as the FMS Branch Chief of the Investigative Support Branch

             from June of2009 to August of 2012, and headed the entire Branch. In that position, she initiated

             and oversaw high profile initiatives such as the Joint Law Enforcement Operations Program and

             the Monitored Case Program, and supervised Program Managers.

                     138.) In reassigning Plaintiff to a far less desirable position with significantly diminished

             responsibilities and significantly fewer future career opportunities, Defendant took an adverse

--~~--~-employment action agains!Plalii.tiffbecause of her sex.

                     139.) Defendant violated Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-

             16, in taking the foregoing adverse employment action.

                     140.) Defendant's violation of Plaintiff's civil rights caused her to suffer emotional pain,

             embarrassment, humiliation, mental anguish, inconvenience, anxiety, depression, career loss, loss

             of professional reputation and career opportunities, and loss of enjoyment oflife.




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                                      PRAYER FOR RELIEF

       Wherefore, Plaintiff Lisa M. Kincaid asks that the Court enter judgment in her favor and

award her the following relief:

       A.      An Order declaring that Defendant violated Plaintiffs rights under Title VII of the

Civil Rights Act of 1964, as amended, 42 U.S.C. §2000e-16, and restraining and enjoining

defendant from further violations;

       B. Restoration of Plaintiff as a Criminal Investigator GS-1811 in !AD, reassignment to the

supervisory position of RAC of the ATF Field Office in Columbia, South Carolina, or

reassignment to a comparable position;

       C. Restoration of leave used by Plaintiff;

       D. An award of attorney's fees and costs incurred in the prosecution of this action;

       E. Compensatory damages in an amount to be determined at trial to compensate Plaintiff

for the emotional pain, embanassment, humiliation, mental anguish, inconvenience, career loss,

loss of professional reputation and career opportnnities, and loss of enjoyment of life caused by

defendant's unlawful actions;

       F. Expepses incuned in th~£ll2:slli]~9-f?l11inti[f s cl~~~s,a11~

       G: Such otherrelief as may be just and appropriate.

                                              JURY DEMAND

               Plaintiff requests a trial by jury of all issues so triable.




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                           Respectfully submitted,




                            obert C. Seldon, Esq.
                            D.C. Bar No. 245100




                          C~
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                           Counsel for Plaintiff




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